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                                            DECLARATION OF JOHN D. BYARS
              Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
             Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 2 of 8




 1
                                      UNITED STATES DISTRICT COURT
 2

 3                                 NORTHERN DISTRICT OF CALIFORNIA

 4                                          SAN FRANCISCO DIVISION

 5                                                                 Case No. 3:21-md-02981-JD
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION
                                                                   DECLARATION OF JOHN D. BYARS IN
 7
     THIS DOCUMENT RELATES TO:                                     SUPPORT OF PLAINTIFFS’
 8                                                                 SUPPLEMENTAL BRIEF ON GOOGLE’S
     Epic Games, Inc. v. Google LLC et al.,                        CHAT PRODUCTION
 9   Case No. 3:20-cv-05671-JD
10   In re Google Play Consumer Antitrust                          Judge: Hon. James Donato
     Litigation, Case No. 3:20-cv-05761-JD
11

12   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
13
     Match Group, LLC et al. v. Google LLC et al.,
14   Case No. 3:22-cv-02746-JD
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                                             DECLARATION OF JOHN D. BYARS
               Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
              Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 3 of 8




 1          I, John D. Byars, declare as follows:

 2          1.       I am an attorney duly admitted to practice in the State of Illinois and before this Court

 3   pro hac vice. I am a partner at Bartlit Beck LLP, and represent the consumer class in this action. I

 4   submit this declaration in support of the Plaintiffs’ Supplemental Brief on Google’s Chat Production.

 5   The contents of this declaration are based on my personal knowledge, including my personal

 6   knowledge of the documents cited herein. The facts set forth herein are within my personal knowledge

 7   and if called as a witness, I could and would competently testify to them.

 8          2.       Attached hereto as Exhibit 1 is a true and correct copy of a document produced by

 9   Google in this litigation bearing the Bates range GOOG-PLAY5-000453593 to GOOG-PLAY5-

10   000453594.

11          3.       Attached hereto as Exhibit 2 is an excerpt of a true and correct copy of the deposition

12   transcript of Sundar Pichai, taken in this litigation on February 27, 2023.

13          4.       Attached hereto as Exhibit 3 is a true and correct copy of a document produced by

14   Google in this litigation bearing the Bates range GOOG-PLAY5-000436389 to GOOG-PLAY5-

15   000436394.

16          5.       Attached hereto as Exhibit 4 is a true and correct copy of a document produced by

17   Google in this litigation bearing the Bates range GOOG-PLAY5-000364738 to GOOG-PLAY5-

18   000364739.

19          6.       Attached hereto as Exhibit 5 is a true and correct copy of a document produced by

20   Google in this litigation bearing the Bates range GOOG-PLAY5-000163578 to GOOG-PLAY5-

21   000163578.

22          7.       Attached hereto as Exhibit 6 is a true and correct copy of a document produced by

23   Google in this litigation bearing the Bates range GOOG-PLAY5-000374365 to GOOG-PLAY5-

24   000374366.

25          8.       Attached hereto as Exhibit 7 is a true and correct copy of a document produced by

26   Google in this litigation bearing the Bates range GOOG-PLAY5-000374364 to GOOG-PLAY5-

27   000374364.

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                                               DECLARATION OF JOHN D. BYARS
                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
            Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 4 of 8




 1         9.        Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

 2   Google in this litigation bearing the Bates range GOOG-PLAY5-000482224 to GOOG-PLAY5-

 3   000482224.

 4         10.       Attached hereto as Exhibit 9 is a true and correct copy of a document produced by

 5   Google in this litigation bearing the Bates range GOOG-PLAY5-000161588 to GOOG-PLAY5-

 6   000161589.

 7         11.       Attached hereto as Exhibit 10 is a true and correct copy of a document produced by

 8   Google in this litigation bearing the Bates range GOOG-PLAY5-000362732 to GOOG-PLAY5-

 9   000362744.

10         12.       Attached hereto as Exhibit 11 is a true and correct copy of a document produced by

11   Google in this litigation bearing the Bates range GOOG-PLAY5-000477797 to GOOG-PLAY5-

12   000477797.

13         13.       Attached hereto as Exhibit 12 is a true and correct copy of a document produced by

14   Google in this litigation bearing the Bates range GOOG-PLAY5-000160237 to GOOG-PLAY5-

15   000160237.

16         14.       Attached hereto as Exhibit 13 is a true and correct copy of a document produced by

17   Google in this litigation bearing the Bates range GOOG-PLAY5-000389042 to GOOG-PLAY5-

18   000389042.

19         15.       Attached hereto as Exhibit 14 is a true and correct copy of a document produced by

20   Google in this litigation bearing the Bates range GOOG-PLAY5-000389043 to GOOG-PLAY5-

21   000389043.

22         16.       Attached hereto as Exhibit 15 is a true and correct copy of a document produced by

23   Google in this litigation bearing the Bates range GOOG-PLAY5-000168593 to GOOG-PLAY5-

24   000168593.

25         17.       Attached hereto as Exhibit 16 is a true and correct copy of a document produced by

26   Google in this litigation bearing the Bates range GOOG-PLAY5-000389029 to GOOG-PLAY5-

27   000389041.

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                                               DECLARATION OF JOHN D. BYARS
                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
            Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 5 of 8




 1         18.       Attached hereto as Exhibit 17 is a true and correct copy of a document produced by

 2   Google in this litigation bearing the Bates range GOOG-PLAY5-000168578 to GOOG-PLAY5-

 3   000168589.

 4         19.       Attached hereto as Exhibit 18 is a true and correct copy of a document produced by

 5   Google in this litigation bearing the Bates range GOOG-PLAY5-000383680 to GOOG-PLAY5-

 6   000383682.

 7         20.       Attached hereto as Exhibit 19 is a true and correct copy of a document produced by

 8   Google in this litigation bearing the Bates range GOOG-PLAY5-000164222 to GOOG-PLAY5-

 9   000164230.

10         21.       Attached hereto as Exhibit 20 is a true and correct copy of a document produced by

11   Google in this litigation bearing the Bates range GOOG-PLAY5-000383187 to GOOG-PLAY5-

12   000383188.

13         22.       Attached hereto as Exhibit 21 is a true and correct copy of a document produced by

14   Google in this litigation bearing the Bates range GOOG-PLAY5-000382012 to GOOG-PLAY5-

15   000382015.

16         23.       Attached hereto as Exhibit 22 is a true and correct copy of a document produced by

17   Google in this litigation bearing the Bates range GOOG-PLAY5-000473143 to GOOG-PLAY5-

18   000473148.

19         24.       Attached hereto as Exhibit 23 is a true and correct copy of a document produced by

20   Google in this litigation bearing the Bates range GOOG-PLAY5-000389316 to GOOG-PLAY5-

21   000389320.

22         25.       Attached hereto as Exhibit 24 is a true and correct copy of a document produced by

23   Google in this litigation bearing the Bates range GOOG-PLAY5-000364253 to GOOG-PLAY5-

24   000364253.

25         26.       Attached hereto as Exhibit 25 is a true and correct copy of a document produced by

26   Google in this litigation bearing the Bates range GOOG-PLAY5-000383422 to GOOG-PLAY5-

27   000383423.

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                                               DECLARATION OF JOHN D. BYARS
                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
            Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 6 of 8




 1         27.       Attached hereto as Exhibit 26 is a true and correct copy of a document produced by

 2   Google in this litigation bearing the Bates range GOOG-PLAY5-000366760 to GOOG-PLAY5-

 3   000366766.

 4         28.       Attached hereto as Exhibit 27 is a true and correct copy of a document produced by

 5   Google in this litigation bearing the Bates range GOOG-PLAY5-000163640 to GOOG-PLAY5-

 6   000163649.

 7         29.       Attached hereto as Exhibit 28 is a true and correct copy of a document produced by

 8   Google in this litigation bearing the Bates range GOOG-PLAY5-000433345 to GOOG-PLAY5-

 9   000433345.

10         30.       Attached hereto as Exhibit 29 is a true and correct copy of a document produced by

11   Google in this litigation bearing the Bates range GOOG-PLAY5-000394430 to GOOG-PLAY5-

12   000394432.

13         31.       Attached hereto as Exhibit 30 is a true and correct copy of a document produced by

14   Google in this litigation bearing the Bates range GOOG-PLAY5-000423751 to GOOG-PLAY5-

15   000423751.

16         32.       Attached hereto as Exhibit 31 is a true and correct copy of a document produced by

17   Google in this litigation bearing the Bates range GOOG-PLAY5-000408349 to GOOG-PLAY5-

18   000408350.

19         33.       Attached hereto as Exhibit 32 is a true and correct copy of a document produced by

20   Google in this litigation bearing the Bates range GOOG-PLAY5-000375854 to GOOG-PLAY5-

21   000375857.

22         34.       Attached hereto as Exhibit 33 is a true and correct copy of a document produced by

23   Google in this litigation bearing the Bates range GOOG-PLAY5-000383657 to GOOG-PLAY5-

24   000383660.

25         35.       Attached hereto as Exhibit 34 is a true and correct copy of a document produced by

26   Google in this litigation bearing the Bates range GOOG-PLAY5-000495759 to GOOG-PLAY5-

27   000495759.

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                                               DECLARATION OF JOHN D. BYARS
                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
             Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 7 of 8




 1          36.       Attached hereto as Exhibit 35 is a true and correct copy of a document produced by

 2   Google in this litigation bearing the Bates range GOOG-PLAY5-000495760 to GOOG-PLAY5-

 3   000495760.

 4

 5          I declare under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct. Executed on this 14th day of March, 2023 at Chicago, Illinois.

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                                                                /s/ John D. Byars
 8                                                                  John D. Byars
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                                                DECLARATION OF JOHN D. BYARS
                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
              Case 3:21-cv-05227-JD Document 360-1 Filed 03/27/23 Page 8 of 8



                                              E-FILING ATTESTATION
 1

 2          I, Jessica V. Sutton, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories
 4   identified above has concurred in this filing.
 5

 6                                                               /s/ Jessica V. Sutton
                                                                 Jessica V. Sutton
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                                              DECLARATION OF JOHN D. BYARS
                Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
